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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
                                                                          6
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8
                                                                          9   WAYMO LLC,                                                   No. C 17-00939 WHA
                                                                         10                  Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                                                                                                                                           ORDER RE SEALING OF
                               For the Northern District of California




                                                                         12   UBER TECHNOLOGIES, INC.;                                     OMNIBUS ORDER ON
                                                                         13   OTTOMOTTO LLC; and OTTO                                      ACCUSATIONS RE UBER’S
                                                                              TRUCKING LLC,                                                LITIGATION MISCONDUCT
                                                                         14                  Defendants.
                                                                         15                                               /

                                                                         16          The omnibus order on the extent to which accusations regarding Uber’s litigation
                                                                         17   misconduct may feature at trial, filed under seal today, shall remain under seal until
                                                                         18   TOMORROW AT 11:00 P.M., after which the order shall be filed on the public docket in its
                                                                         19   entirety unless one or more parties propose redactions.
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                                                                         21          IT IS SO ORDERED.
                                                                         22
                                                                         23   Dated: January 29, 2018.
                                                                         24                                                             WILLIAM ALSUP
                                                                                                                                        UNITED STATES DISTRICT JUDGE
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